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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

STUDENT FREE PRESS ASSOCIATION,                        )
4771 Mechanic Rd., Hillsdale, MI 49242                 )
                                                       )
              and                                      )    Civil Action No. 22-1713
                                                       )
CHRISTIAN SCHNEIDER,                                   )
4421 Yuma Dr., Madison, WI 53711                       )
                                                       )
                                     Plaintiffs,       )
       v.                                              )
                                                       )
UNITED STATES DEPARTMENT OF                            )
EDUCATION,                                             )
400 Maryland Ave., SW, Washington, DC 20202            )
                                                       )
                                     Defendant         )


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

Plaintiffs allege as follows, against Defendant U.S. Department of Education:

1) This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, for

   improper withholding of agency records.

2) Plaintiffs seek to compel production under a March 2021 FOIA request submitted by

   plaintiff Christian Schneider, a reporter for The College Fix, which is a publication of

   plaintiff Student Free Press Association.

3) On March 31, 2021, Schneider submitted a FOIA request to Defendant about the

   Department of Education’s Free Speech Hotline, seeking “all the emails the Free Speech

   Hotline received since it began operating.”

4) Defendant was required to issue a determination in response to that request within 20

   working days, that is, by no later than April 28, 2021. See 5 U.S.C. § 552(a)(6)(A)(i).




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5) Defendant has failed to provide Schneider with either the records requested, or the

   determination in response to plaintiff’s FOIA request mandated by 5 U.S.C. §

   552(a)(6)(A)(i).

6) FOIA requires an agency to provide a determination of the number of responsive records

   it intends to release or withhold within 20 working days after receiving the request. As

   the D.C. Circuit explained, agencies must “inform the requester of the scope of the

   documents that the agency will produce, as well as the scope of the documents that the

   agency plans to withhold under any FOIA exemptions” within the statutory deadline of

   20 working days. (CREW v. FEC, 711 F.3d 180 (D.C. Cir. 2013)).

7) Over 14 months have elapsed since the FOIA request.

8) Due to Defendant’s failure to comply with FOIA’s deadlines, plaintiffs have filed this

   lawsuit to compel it to comply with the law.

9) This lawsuit is filed in accordance with 5 U.S.C. § 552(a)(4)(B).

                                           PARTIES
10) Plaintiff Student Free Press Association is a non-profit media organization that is exempt

   from federal income tax under section 501(c)(3) of Title 26 of the United States Code. It

   operates The College Fix, a news website focused on higher education.

11) Christian Schneider is a reporter for The College Fix and is employed by the Student

   Free Press Association.

12) United States Department of Education is a federal agency within the meaning of FOIA,

   5 U.S.C. § 552(f)(1), and is headquartered at 400 Maryland Avenue, SW, Washington,

   D.C. 20202. Defendant has possession, custody, and control of the records that plaintiffs

   seek.




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                                 JURISDICTION AND VENUE

13) This Court has jurisdiction pursuant to 5 U.S.C. § 552(a)(4)(B), because this action is

   brought in the District of Columbia, and 28 U.S.C. § 1331, because the resolution of

   disputes under FOIA presents a federal question.

14) Venue is proper under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391(e), both because

   the records are located in Washington, D.C., and because defendant is a federal agency.

                           FACTUAL AND STATUTORY BACKGROUND

15) On March 31, 2021, Christian Schneider, a reporter for The College Fix, submitted a

   FOIA request via the U.S. Department of Education’s open records request portal:

   “In December 2020, the Department of Education announced a new ‘Free Speech
   Hotline’ where students could email the Office of the General Counsel with any First
   Amendment violations. I am requesting a copy of all the emails the Free Speech Hotline
   received since it began operating. (Date Range for Record Search: From 12/01/2020 To
   03/31/2021)”

16) He listed The College Fix as his employer on the online form he filled out to submit the

   FOIA request.

17) That same day, Schneider received an acknowledgment of his request, stating:

         “Request #21-01290-F has been assigned to the request you submitted. In all future
         correspondence regarding this request, please reference FOIA tracking number 21-01290-
         F.

         Please refer to the FOIA tracking number to check the status of your FOIA request at the
         link provided below:

         https://foiaxpress.pal.ed.gov/app/CheckStatus.aspx

         For any future correspondence, status updates or questions regarding your request, please
         contact the FOIA Public Liaison via email to EDFOIAManager@ed.gov.

         Regards,

         Department of Education,

         Office of the Executive Secretariat”


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18) On April 1, 2021, Schneider received an email from the defendant telling him his request was

   in process:

       “The status of your FOIA request #21-01290-F has been updated to the following status
       'In Process'. To log into the DoEd FOIA Portal click on the Application URL below.
       https://foiaxpress.pal.ed.gov/

       Sincerely,

       Department of Education”

19) On April 5, 2021, Schneider received an email from Elise Cook in the Education

   Department’s FOIA Service Center, attaching a letter, addressed to “Mr. Christian

   Schneider” of “The College Fix,” telling him that a fee waiver had been granted by

   Defendant:

       “You have asked for a waiver of all fees, including duplication fees, associated with
       processing your request based on your requester category as News Media requester.
       Based on the information you submitted for a fee waiver, that request is granted.”

20) On April 6, 2021, Schneider contacted a spokesperson for Defendant, to ask if the Free

   Speech Hotline was still operational. The spokesperson said that it was:

       “Here is what we can tell you. On background, attributed to an Education Department
       spokesperson:

       ‘Under the previous administration, the Department established an email inbox to receive
       complaints regarding campus speech. At present, the Department’s new leadership is
       assessing this inbox and it remains online.’”

21) On September 27, 2021, Schneider sent the department a message via their online messaging

   page that said the following: “I made a FOIA request in March of this year and would like an

   update on the status of the request. It is number 21-01290-F.”

22) On September 30, 2021, the Education Department responded:

       “Good morning,




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       The assigned program office is still continuing to process your request. I am reaching out
       to them for a more specific update on the status of your request. Thank you for your
       patience.”

23) On December 13, 2021, Schneider emailed Jim Bradshaw, a U.S. Department of Education

   spokesman, for a story he was working on about the one year anniversary of the hotline.

   Schneider asked Bradshaw,

       “I have filed a FOIA request for the records and received no response, then inquired
       again, and once again received no response.

       Is the Department still collecting campus speech complaints? How many has it received?

       Why has the Department not released the complaints I requested back in April?”

24) Bradshaw responded later on December 13, 2021, writing, inter alia:

       “As far as your FOIA request, best bet is to contact EDFOIAmanager@ed.gov. Details
       on the act are available here. The Department’s FOIA page now includes a link to the
       current status of all pending FOIA requests. See Check Status of FOIA Request. They
       are listed by request number.”

25) After a further email exchange with Bradshaw, Schneider emailed the Education Department

   FOIA Manager at EDFOIAmanager@ed.gov on December 14, 2021. He stated that on

   March 31, he had “made a FOIA request, which became number 21-01290-F,” but had

   “never received any documents or any notification from the Department that anything had

   been sent. Also, when I check the status of the request on my account page, I get this

   information, which says the request is still ‘In Process.’”

26) In that email, he included the below “Request Status” table, which is provided to FOIA

   requesters when they use the “Check Status” function at the U.S. Department of Education’s

   FOIA portal, at https://foiaxpress.pal.ed.gov/app/CheckStatus.aspx. The table




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   distinguishes between FOIA requests that have been merely “Received” or “Assigned for

   Processing” and FOIA requests that have been fulfilled by having “Document Delivered” or

   have been “Closed” due to “The Agency’s response” to a request being “sent”:




27) That same day, the Education Department FOIA Manager responded that “this request is

   assigned for processing.”

28) “Assigned for processing” is listed in the above table as an early stage in processing FOIA

   requests, that occurs before documents are delivered, and before access to records is granted

   or denied in the agency’s response.

29) This was the final communication Schneider received from anyone at the Education

   Department about his FOIA request.

30) Defendant’s determination in response to plaintiff’s FOIA request was due 20 working

   days after it received plaintiffs’ request. See 5 U.S.C. § 552(a)(6)(A)(i).

31) So defendant’s deadline for issuing its determination was April 28, 2021.

32) In none of its communications with Schneider did Defendant indicate whether it would

   later produce any records in response to FOIA request number 21-01290-F, or indicate

   how many documents it would ultimately produce or withhold in response to the FOIA

   request.

33) To qualify as a “determination” for purposes of 5 U.S.C. § 552(a)(6)(A)(I)(i), an

   agency’s response must “inform the requester of the scope of the documents that the




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    agency will produce, as well as the scope of the documents that the agency plans to

    withhold under any FOIA exemptions.” (CREW v. FEC, 711 F.3d 180 (D.C. Cir. 2013)).

34) Defendant has provided no such determination in response to FOIA request number 21-

    01290-F. Nor has it provided any records in response to Schneider’s FOIA request.

35) Due to defendant’s failure to comply with the statutory deadline for issuing a

    determination, plaintiffs exhausted all administrative remedies and can now sue.1

36) FOIA provides that a requester is "deemed to have exhausted his administrative

    remedies with respect to such request if the agency fails to comply with the applicable

    time limit provisions." 5 U.S.C. § 552(a)(6)(C)(i).

                          Defendant Has Waived the Right to Charge Fees

37) In addition to the fact that Defendant “granted” a “waiver of all fees” in its April 5 letter

    to Schneider, it has also waived the right to collect fees for processing plaintiffs’ request

    by failing to comply with FOIA’s deadlines.

38) In Bensman v. National Park Service, 806 F.Supp.2d 31 (D.D.C. 2011), this Court noted

    that “the 2007 [FOIA] Amendments … impose consequences on agencies that …. fail to

    comport with FOIA’s requirements….To underscore Congress's belief in the importance

    of the statutory time limit, the 2007 Amendments declare that ‘[a]n agency shall not

    assess search fees… if the agency fails to comply with any time limit’ of FOIA.”




1
 See CREW v. FEC, 711 F.3d 180, 189 (D.C. Cir. 2016) ("if an agency does not adhere to certain
statutory timelines in responding to a FOIA request, the requester is deemed by statute to have
fulfilled the exhaustion requirement")



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39) The records sought in plaintiffs’ FOIA request, which involve potential First

   Amendment violations and federal responses to such violations, are of great public

   interest, and producing them would be of public benefit.

                                  FIRST CLAIM FOR RELIEF
                       Duty to Produce Records – Declaratory Judgment

40) Plaintiffs re-allege paragraphs 1-39 as if fully set out herein.

41) Defendant is improperly withholding agency records.

42) Plaintiffs ask this Court to enter a judgment declaring that:

           a.     Plaintiffs are entitled to the records described in their FOIA request, and any

                    attachments thereto;

           b.     Defendant’s processing of plaintiffs’ FOIA request is not in accordance with the

                    law, and does not satisfy Defendant’s obligations under FOIA;

           c.     Defendant has a duty to produce the records responsive to plaintiffs’ FOIA

                    request;

           d.     Defendant has a duty to produce them without charging any fees.

                                SECOND CLAIM FOR RELIEF
                           Duty to Produce Records – Injunctive Relief

43) Plaintiffs re-allege paragraphs 1-42 as if fully set out herein.

44) Plaintiffs are entitled to injunctive relief compelling defendant to produce the records

   described in their FOIA request, without charging any fees.

45) Plaintiffs ask the Court to issue an injunction ordering defendant to produce to plaintiffs,

   within 10 business days of the date of the order, the records sought in plaintiffs’ FOIA

   request, and any attachments thereto.

                                 THIRD CLAIM FOR RELIEF
                                Costs And Fees – Injunctive Relief


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46) Plaintiffs re-allege paragraphs 1-45 as if fully set out herein.

47) Pursuant to 5 U.S.C. § 552(a)(4)(E), the Court may assess against the United States

   reasonable attorney fees and other litigation costs reasonably incurred in any case under

   this section in which the complainant has substantially prevailed.

48) This Court should enter an injunction ordering the defendant to pay reasonable attorney

   fees and other litigation costs reasonably incurred in this case.

   WHEREFORE, Plaintiffs request the declaratory and injunctive relief herein sought, and an

award for their attorney fees and costs and such other relief as the Court shall deem proper.

               Respectfully submitted this 14th day of June, 2022,

                                                       ___/s/ Hans F. Bader______
                                                             Hans F. Bader
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